                                         NO. 12-14-00311-CR

                               IN THE COURT OF APPEALS

                  TWELFTH COURT OF APPEALS DISTRICT

                                             TYLER, TEXAS

IN RE:                                                      §

DANNY RAY SOWELL,                                           §   ORIGINAL PROCEEDING

RELATOR                                                     §

                                         MEMORANDUM OPINION
                                             PER CURIAM
         On October 28, 2014, Relator, Danny Ray Sowell, filed a petition for writ of habeas
corpus in this court. See TEX. GOV’T CODE ANN. § 22.221 (West 2004); TEX. R. APP. P. 52. In
the petition, Relator alleges that he is illegally restrained because his trial for the offense with
which he is charged is barred by double jeopardy under the Fifth and Fourteenth Amendments to
the United States Constitution.
         We are unable to consider Relator’s petition because our original jurisdiction to entertain
petitions for writ of habeas corpus extends solely to the actions of judges in civil cases. See TEX.
GOV’T CODE ANN. § 22.221(d). Our habeas corpus jurisdiction in criminal matters is appellate
only, and we may not exercise original jurisdiction. See id.; Ex parte Hearon, 3 S.W.3d 650,
650 (Tex. App.–Waco 1999, orig. proceeding). Accordingly, we dismiss Relator’s petition for
writ of habeas corpus for want of jurisdiction.
Opinion delivered October 30, 2014.
Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.




                                              (DO NOT PUBLISH)
                                 COURT OF APPEALS

     TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                          JUDGMENT

                                        OCTOBER 30, 2014


                                        NO. 12-14-00311-CR


                                 DANNY RAY SOWELL,
                                         Relator
                                           V.
                               HON. RANDAL L. MCDONALD,
                                       Respondent


                                      ORIGINAL PROCEEDING
                     ON THIS DAY came to be heard the petition for writ of mandamus and
petition for writ of prohibition filed by DANNY RAY SOWELL, who is the relator in Cause No.
2013-00136, pending on the docket of the County Court at Law of Van Zandt County, Texas.
Said petition for writ of mandamus having been filed herein on October 28, 2014, and the same
having been duly considered, because it is the opinion of this Court that a writ of mandamus
should not issue, it is therefore CONSIDERED, ADJUDGED and ORDERED that the said
petition for writ of mandamus be, and the same is, hereby DISMISSED               FOR   WANT   OF

JURISDICTION.
                  By per curiam opinion.
                  Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.
